Case 2:11-cr-20129-RHC-EAS ECF No. 913, PageID.4104 Filed 08/20/14 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                       Case No. 11-CR-20129-35

WAYNE R. WERTH,

           Defendant.
_________________________/

     ORDER DENYING ALL PRO SE MOTIONS AND INSTRUCTING COUNSEL TO
            REVIEW AND DETERMINE WHETHER TO FILE A MOTION

       Before the court are multiple filings submitted pro se by Defendant Wayne R.

Werth. The filings seek various forms of relief, take issue with the manner in which his

attorney has handled different matters, and attempt to supplement previous filings

before the court. Nowhere in these submissions, however, does Defendant make a

clear and unequivocal statement that he wishes to proceed pro se. Instead, Defendant

appears to be, once again, attempting to operate as a functional co-counsel in tandem

with his current attorney. Defendant has previously been advised, time and time again,

that he is not entitled to represent himself while simultaneously represented by counsel.

This means that, while a criminal defendant has the right to appear pro se or by

counsel, the right is disjunctive. Thus, a party may chose either to represent himself or

to appear through an attorney. See McKaskle v. Wiggins, 465 U.S. 168, 183 (1984) (“

Faretta [ v. California, 422 U.S. 806, 95 S.Ct. 2525, 45 L.Ed.2d 562 (1975) ] does not

require a trial judge to permit ‘hybrid’ representation.”); see also United States v.

Modena, 430 F. App’x 444, 446 (6th Cir. 2011) (finding that the defendant was not
Case 2:11-cr-20129-RHC-EAS ECF No. 913, PageID.4105 Filed 08/20/14 Page 2 of 2




entitled to “split[] trial responsibilities” with his counsel). After an earlier request to

represent himself, Defendant reconsidered and clearly and unequivocally chose to be

represented by counsel. At the last hearing before the court, the court reaffirmed to

Defendant that he must therefore speak through counsel. From a cursory review of the

pro se submissions, it appears that Defendant is not attempting to represent himself, but

rather he continues to want to behave as a pseudo co-counsel while represented by

counsel. This is not allowed. The court will accept filings only from his attorney.

Accordingly,

          IT IS ORDERED that Defendant Werth pro se motions (Dkt. ## 819, 826, 843,

849, 873, 881) are DENIED. Defendant’s attorney is DIRECTED to review the filings

and consider them along with any recent conversations with his client to determine

whether any motion needs to be filed.

                                                               S/Robert H. Cleland
                                                              ROBERT H. CLELAND
                                                              UNITED STATES DISTRICT JUDGE
Dated: August 20, 2014

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, August 20, 2014, by electronic and/or ordinary mail.

                                                               S/Lisa Wagner
                                                              Case Manager and Deputy Clerk
                                                              (313) 234-5522




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